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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

    NUVASIVE, INC.,                        )
                                           )
                Plaintiff,                 )
                                           )
    v.                                     )             Civil Case No. 6:17-cv-2206-Orl-41GJK
                                           )
    ABSOLUTE MEDICAL, LLC, ABSOLUTE )
    MEDICAL SYSTEMS, LLC, GREG             )
    SOUFLERIS, DAVE HAWLEY, and            )
    RYAN MILLER,                           )
                                           )
                Defendants.                )
    _______________________________________)

                     NUVASIVE, INC.’S MOTION FOR CLARIFICATION

           On June 10, 2020, the Court entered an order requiring the parties to modify and

    refile their motions for summary judgment no later than July 27, 2020 (Doc. 252), but the

    June 10, 2020 order does not specify when the revised/modified responses to the refiled

    motions for summary judgment are due. Pursuant to the Court’s Amended Case Management

    and Scheduling Order (Doc. 193 at ¶ (H)(1)), responses to motions for summary judgment

    are due within thirty (30) days of the filing of the motion, but pursuant to Local Rule 3.01(b),

    responses to motions are generally due within fourteen (14) days of the filing of the motion.

    Thus, NuVasive, Inc. (“NuVasive”) requests clarification regarding whether responses to the

    refiled motions for summary judgment are due within fourteen (14) or thirty (30) days of the

    refiling of the motions for summary judgment.

           In the event the Court requires responses within fourteen (14) days, NuVasive

    respectfully requests that the Court permit them twenty-one (21) days to respond to
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    Defendants’ refiled motion for partial summary judgment. Defendants refiled their motion

    for partial summary judgment early on July 20, 2020 (Doc. 257), a fourteen-day response

    deadline would make NuVasive’s response due no later than August 3, 2020, and a twenty-

    one-day response deadline would make the response due August 10, 2020 (the same due date

    with a fourteen-day response deadline had Defendants refiled their motion for partial

    summary judgment on the July 27, 2020 deadline). Thus, NuVasive respectfully requests

    that if the Court requires responses within fourteen (14) days that NuVasive be permitted

    until August 10, 2020 to file its response.

                                   Local Rule 3.01(g) Certification

           Counsel for NuVasive attempted to confer with counsel for Defendants regarding the

    relief requested in this motion, but counsel for Defendants were nonresponsive. Counsel for

    NuVasive emailed counsel for Defendants Christopher Mills, Bryan Busch, and Laura

    Mirmelli on July 24, July 27, and July 28, 2020 (see Exhibit 1) and called Bryan Busch on

    July 27 and 28, 2020, leaving two voicemails. Despite responding to other inquiries from

    counsel for NuVasive on July 27, 2020, none of Defendants’ counsel responded regarding

    the relief requested in this motion. Thus, NuVasive was unable to ascertain Defendants’

    position as to the relief requested in this motion.




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    Dated: July 28, 2020

                                      Respectfully submitted,

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                                       Attorneys for Plaintiff NuVasive, Inc.




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                                   CERTIFICATE OF SERVICE

             I hereby certify that on July 28, 2020, a copy of the foregoing was filed electronically.
    Notice of this filing will be sent by operation of the Court’s electronic filing system to all
    parties indicated on the electronic filing receipt, including the following counsel of record:

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